                 Case 8-18-75661-reg              Doc 23        Filed 10/13/18         Entered 10/14/18 00:23:07

                                               United States Bankruptcy Court
                                               Eastern District of New York
In re:                                                                                                     Case No. 18-75661-reg
Deborah Ann Bullen Thomas                                                                                  Chapter 7
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0207-8                  User: sdolan                       Page 1 of 1                          Date Rcvd: Oct 11, 2018
                                      Form ID: 274                       Total Noticed: 14


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Oct 13, 2018.
db             +Deborah Ann Bullen Thomas,    45 Brown Blvd,    Wheatley Heights, NY 11798-1515
smg            +NYC Department of Finance,    345 Adams Street,    Office of Legal Affairs,
                 Brooklyn, NY 11201-3739
smg            +NYS Unemployment Insurance,    Attn: Isolvency Unit,    Bldg. #12, Room 256,
                 Albany, NY 12240-0001
9338317        +ENHANCEDRECOVERYCOMPAN,    POBOX57547,    JACKSONVILLE, FL 32241-7547
9338319        +NMD Realty Holdings,    PO Box 700,    North Bellmore NY 11710-0700
9338320       #+SECURITY CREDIT SERVICES,    2653 W OXFORD LOOP # 108,    OXFORD, MS 38655-2929

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
smg            +E-mail/Text: nys.dtf.bncnotice@tax.ny.gov Oct 11 2018 18:45:39
                 NYS Department of Taxation & Finance,    Bankruptcy Unit,    PO Box 5300,
                 Albany, NY 12205-0300
smg            +E-mail/Text: ustpregion02.li.ecf@usdoj.gov Oct 11 2018 18:44:19       United States Trustee,
                 Office of the United States Trustee,    Long Island Federal Courthouse,    560 Federal Plaza,
                 Central Islip, NY 11722-4456
9343936        +EDI: ATLASACQU.COM Oct 11 2018 22:33:00      Atlas Acquisitions LLC,    294 Union St.,
                 Hackensack, NJ 07601-4303
9342096        +EDI: AISACG.COM Oct 11 2018 22:35:00      Capital One Auto Finance, a division of Capital On,
                 AIS Portfolio Services, LP,   4515 N Santa Fe Ave. Dept. APS,     Oklahoma City, OK 73118-7901
9338315        +EDI: WFNNB.COM Oct 11 2018 22:34:00      Commenity Capital,    PO Box 182120,
                 Columbus OH 43218-2120
9338316        +EDI: NAVIENTFKASMDOE.COM Oct 11 2018 22:35:00      Department of Education/Navient,
                 PO Box 9635,   Wilkes Barre PA 18773-9635
9338318        +EDI: MID8.COM Oct 11 2018 22:34:00      Midland Funding,    2365 Northside Drive Suite 300,
                 San Diego CA 92108-2709
9338321        +EDI: VERIZONCOMB.COM Oct 11 2018 22:33:00      VERIZON,    500 TECHNOLOGY DR SUITE 300,
                 WELDON SPRING, MO 63304-2225
                                                                                              TOTAL: 8

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’#’ were identified by the USPS National Change of Address system as requiring an update.
While the notice was still deliverable, the notice recipient was advised to update its address with the court
immediately.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Oct 13, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on October 11, 2018 at the address(es) listed below:
              Marc A Pergament   mpergament@wgplaw.com, n167@ecfcbis.com
              Michael J Macco   on behalf of Creditor   NMD Realty Holdings, LLC csmith@maccosternlaw.com,
               maccocr82572@notify.bestcase.com
              United States Trustee   USTPRegion02.LI.ECF@usdoj.gov
                                                                                            TOTAL: 3
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 Information to identify the case:
 Debtor 1              Deborah Ann Bullen Thomas                                     Social Security number or ITIN   xxx−xx−5012
                       First Name   Middle Name    Last Name                         EIN _ _−_ _ _ _ _ _ _
 Debtor 2                                                                            Social Security number or ITIN _ _ _ _
                       First Name   Middle Name    Last Name
 (Spouse, if filing)
                                                                                     EIN   _ _−_ _ _ _ _ _ _
 United States Bankruptcy Court             Eastern District of New York
                                                                                     Date case filed for chapter 7 8/21/18
 Case number:          8−18−75661−reg




                                    NOTICE OF AUTOMATIC DISMISSAL OF CASE
                                      UNDER BANKRUPTCY CODE § 521 (i)(1)

NOTICE IS HEREBY GIVEN THAT:

1) This case was filed on August 21, 2018, with deficiencies.

2) A Notice of Deficiency Filing was sent on August 21, 2018, informing the debtor(s), among other things, that
there were outstanding statements, schedules and/or lists to be filed or the case may be subject to automatic dismissal
under § 521(i)(1) of the Bankruptcy Code.

3) A Final Notice of Section 521 Deficiencies was sent on September 21, 2018, notifying the debtor(s) that certain
documents remained outstanding and in the absence of those documents being filed, the case would be dismissed
under § 521(i)(1) of the Bankruptcy Code.

4) As of this date, some or all of the required documents have not been filed with the Clerk of the Court.

Under § 521(i)(1), the above captioned case is dismissed effective on the 46th day after the date of the filing of the
petition.



 Dated: October 11, 2018


                                                                           For the Court, Robert A. Gavin, Jr., Clerk of Court




BLnod521.jsp [Notice of Dismissal rev. 02/01/17]
